Case 18-09130   Doc 338-1   Filed 01/09/19 Entered 01/09/19 13:43:36   Desc Exhibit
                                  A Page 1 of 2




                   EXHIBIT A
       Case 18-09130       Doc 338-1      Filed 01/09/19 Entered 01/09/19 13:43:36      Desc Exhibit
                                                A Page 2 of 2

Paloian, Gus

From:                           Paloian, Gus
Sent:                           Thursday, September 13, 2018 1:32 PM
To:                             Jan Kowalski
Cc:                             Paloian, Gus
Subject:                        Rent Payment for your Office at 1918 W Cermak


Ms. Kowalski, Please forward to me your rental payments for your office space at 1918 W. Cermak for the
months of August and September 2018 and for each month thereafter. Thanks.


Gus Paloian | Partner
Chicago | Ext: 735936 (+1-312-460-5936)
gpaloian@seyfarth.com




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